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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,

 

Plaintiff,
Criminal No. 18-cr-20495
Vv.
Honorable David M. Lawson
Ibraheem Izzy Musaibli,
aka Abu Shifa Musaibli,

aka Abu ‘Abd Al-Rahman Al-Yemeni,

LE

JUL 24 2018

  
 

Defendant.

   

 

GOVERNMENT’S MOTION, SUPPORTING BRIEF AND ORDER
TO UNSEAL INDICTMENT AND ARREST WARRANT

 

The United States of America hereby moves for an order unsealing the
Indictment and Arrest Warrant in this case, and states:

1. The Indictment in this case charges the defendant with one or more
federal crimes.

2. Rule 6(e)(4) of the Federal Rules of Criminal Procedure, which
authorizes this Court to seal indictments, implicitly authorizes this
Court to unseal indictments.

3. The government requests that the Indictment and Arrest Warrant be
unsealed because the defendant has been arrested and is entitled to

receive a copy of the Indictment.
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WHEREFORE, the government requests this Court to issue an order unsealing

the Indictment and Arrest Warrant.

Dated: July 24, 2018

IT ISSO ORDERED.

Entered: fe 2 4 2018

Respectfully submitted,

MATTHEW SCHNEIDER
United States Attorney

s/Cathleen M. Corken

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‘Lid bf

 

ELIZABETH A. STAFFORD
United States Magistrate Judge
